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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SCOTT PLACE PHARMACY, LLC,                           §
                                                     §
        Plaintiff,                                   §
                                                     §
v.                                                   §   C.A. No. 4:17-cv-1653
                                                     §
UNITED HEALTH CARE OF TEXAS,                         §
AND OPTUMRX, LLC                                     §
                                                     §
        Defendants.

       ORDER GRANTING STIPULATED DISMISSAL WITH PREJUDICE

        The parties having advised the Court that they stipulate to dismissal of this action

with prejudice, it is accordingly

        ORDERED, ADJUDGED and DECREED that the case is DISMISSED WITH

PREJUDICE; and it is further

        ORDERED, ADJUDGED and DECREED that all attorneys’ fees and costs are

taxed against the party incurring same.

        SO ORDERED.

        SIGNED this ____ day of ___________, 2017.


                                                         ________________________________
                                                         HONORABLE SIM LAKE
                                                         UNITED STATES DISTRICT JUDGE




Order Granting Stipulated Dismissal with Prejudice                                 Solo Page
